 

AO 91 (Rev. 11/11) Criminal Complaint
UNITED STATES DISTRICT COURT
for the

Eastern District of Wisconsin

 

 

 

United States of America )
Vv. )
Lori STRINGFELLOW (07/23/1962) CaseNo. 2 PD. W{T-F (
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 28, 2020 in the county of Milwaukee in the
Eastern District of Wisconsin , the defendant(s) violated:
Code Section Offense Description

TITLE 18, U.S.C. Section 111 Assault of an employee of the United States

This criminal complaint is based on these facts:

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@M Continued on the attached sheet.

 

Za Complainant ’s signature
Shane L. Hitchler, Deputy U.S. Marshal
Printed name and title ,

Sworn to before me and signed in my presence.
4/7/70} Wein. G, DY.

Date:
Judge’s signat d/

City and state: Milwaukee, Wisconsin
Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Shane L. Hitchler, being first duly sworn, hereby depose and state as follows:
I. INTRODUCTION AND AGENT BACKGROUND

1, Iam a Senior Inspector employed by the United States Marshals Service (USMS),
United States Department of Justice, and I am assigned to the Eastern District of Wisconsin. I
have been employed by the United States Marshals Service for 15 years. I am a graduate of
Arizona State University and hold a Bachelor’s Degree in Administration of Justice. I attended
the United States Marshal Service Academy in 2005. I have also attended the Criminal
Investigator Training Program at the Federal Law Enforcement Center in 2008. I am currently
assigned as the Deputy United States Marshal and I am responsible for the safety and security of
United States Courthouses in the Eastern District of Wisconsin, and courthouse personnel within
the Eastern District of Wisconsin. I have received training for my position within the United
States Marshals Service. I am a law enforcement officer of the United States within the meaning
of Title 18, United States Code, Section 2510(7).

2. The facts and information contained in this affidavit are based upon my
investigation and interviews conducted by myself. This affidavit contains information necessary
to support probable cause and it is not intended to include each and every fact or occurrence in
the matter observed by me or known by the government.

I. PURPOSE OF AFFIDAVIT
3. I make this affidavit in support of a criminal complaint.
4, Based on my training and experience and the facts as set forth in this affidavit, I

submit there is probable cause to believe that, on or about February 28, 2020, Lori Stringfellow

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(DOB XX/XX/1962) committed, a violation of Title 18, United States Code, Section 111, in the
Eastern District of Wisconsin.
lil, PROBABLE CAUSE

5. The United States Marshals Service (USMS) cellblock is located in the basement
of the United States District Courthouse within the Eastern District of Wisconsin.

6. On February 28, 2020, Lori STRINGFELLOW, hereinafter referred to as
STRINGFELLOW, was at the United States District Courthouse located in Milwaukee,
Wisconsin. STRINGFELLOW was at the courthouse for a detention hearing before Chief
United States District Court Judge Pamela PEPPER on case 2:18-cr-00031.

7. On February 28, 2020, at approximately 1430 hours, Deputy United States
Marshal Kasey DOTY noticed STRINGFELLOW was on the floor of a cellblock interview
room. Deputy DOTY asked STRINGFELLOW if she was okay. STRINGFELLOW appeared
to be upset and stated, “I am not fucking going back to Kenosha.” Deputy DOTY attempted to
calm STRINGFELLOW down by advising STRINGFELLOW that the Kenosha County
Detention Center was closer to her release residence in Chicago. STRINGFELLOW was then
escorted into holding cell 4.

8. On February 28, 2020, at approximately 1530 hours, Kenosha County Detention
Center Transport Officers had arrived to transport STRINGFELLOW to the Kenosha County
Detention Center.

9. On February 28, 2020, at approximately 1535 hours, STRINGFELLOW was
asked to come out of holding cell 4 for transport. STRINGFELLOW then began to yell, “You
Mother fuckers are not taking me to Kenosha.” STRINGFELLOW then went towards the back

of the cell. Deputy DOTY noticed that STRINGFELLOW had broken off part of her

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prescription glasses frame and was holding it toward her wrist. STRINGFELLOW was
threatening to kill herself. Deputy DOTY, Deputy United States Marshal Benjamin GRAMS,
Deputy United States Marshal Dakota URBAN, Supervisory Deputy United States Marshal Gary
ENOS, and a Kenosha County Deputy Sheriff (name unknown) went into cell 4 to prevent
STRINGFELLOW from hurting herself, and to get STRINGFELLOW ready for transport. As
Deputies GRAMS and DOTY attempted to restrain STRINGFELLOW for transport,
STRINGFELLOW intentionally dug her fingernails into Deputy GRAMS’s left arm, breaking
the outer layer of skin. This incident was recorded on surveillance cameras.

10. STRINGFELLOW’s fingernails are approximately over 1 inch _ long.
STRINGFELLOW has received disciplinary write-ups for failing to groom them to be in
compliance with detainee standards.

CONCLUSION
11. Based on the foregoing, there is probable cause to believe that STRINGFELLOW

has engaged in Assault of an Employee of the United States in violation of 18 U.S.C. § 111.

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